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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA
United States Of America, CR_12~01263 -PHX-ROS
l Plaintiff,
VERDICT
VS.
Ahmed Alahmedalabdaloklah,
Defendant.

 

 

We, the jury, find the Defendant, Ahmed Alahmedalabdaloklah:

Count 1: Conspiring to Use a Weapon of Mass Destruction

NOT GUILTY / GUILTY

'Count 2: Conspiring to Maliciously Damage or Destroy United States
Govemment Property by Means Of an EXplOSiV7

N<)T GUILTY ` GUILTY

Count 3: Aiding and Abetting Other Persons to Possess a Destructive Device in
Furtherance Of a Crime of Violence

NOT GUILTY \>/GUILTY

 

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Count 4: Conspiring to Possess a Destructive Device in Furtherance Of a Crime 0f

Violence /
" GUILTY

NOT GUILTY

Count 51 Conspiring to Commit EXtraterritorial Murder of a National Of the United

States \
/NGT GUILTY GUILTY

Count 61 P\ykd`ng Materia] Support to Terrorists
NOT GUILTY GUILTY

 

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Foreperson Date

 

 

